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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X
                                                                       :
LUCIO CELLI,                                                           :
                                                                       :
                                    Plaintiff,                         :
                                                                       :         25-CV-2031 (JMF)
                  -v-                                                  :
                                                                       :              ORDER
DONALD J. TRUMP, et al.,                                               :
                                                                       :
                                    Defendants.                        :
                                                                       :
---------------------------------------------------------------------- X

JESSE M. FURMAN, United States District Judge:

        In this case, Plaintiff Lucio Celli, proceeding without counsel, explicitly seeks relief
related to another case pending in this district, Celli v. New York City, et al. (Celli I), No. 24-CV-
9743 (JPC) (RWL). Indeed, since filing the Complaint, Plaintiff has filed identical motions in
both cases seeking to stay proceedings in Celli I, see ECF No. 10; No. 24-CV-9743, ECF No.
104, and has filed here objections to a ruling in Celli I, see ECF No. 12.

        Rule 13(a)(1)(A) of the Rules for the Division of Business Among District Judges (“DOB
Rules”) for this District provide that two cases will be deemed related if “there is substantial
factual overlap” between them, “the parties could be subjected to conflicting orders,” and
“absent a determination of relatedness there would be a substantial duplication of effort and
expense, delay, or undue burden on the Court.” When cases are designated as related, they are to
be “forwarded to the judge before whom the allegedly related case . . . [is] pending, who shall
decide whether to accept or reject the case,” subject to review by the Court’s Assignment
Committee. See DOB Rule 13(b)(2); see also DOB Rule 2.

        The undersigned conferred with Judge Cronan and Magistrate Judge Lehrburger, who are
presiding over Celli I, and all agree that this case should be deemed related to Celli I. The
Assignment Committee has concurred with that assessment. Accordingly, the Clerk of Court is
directed to reassign this case to Judge Cronan as related to Celli I.

        SO ORDERED.

Dated: May 14, 2025                                        __________________________________
       New York, New York                                           JESSE M. FURMAN
                                                                  United States District Judge
